Opinion filed August 21, 2024




                                      In The


        Eleventh Court of Appeals
                                   __________

                                No. 11-22-00308-CR
                                    __________

                      DAKOTA LEE HOYT, Appellant
                                         V.
                     THE STATE OF TEXAS, Appellee


                     On Appeal from the 358th District Court
                              Ector County, Texas
                      Trial Court Cause No. D-21-1674-CR


                      MEMORANDUM OPINION
      A jury convicted Appellant, Dakota Lee Hoyt, of three counts of aggravated
sexual assault of a child under the age of six, first degree felonies. See TEX. PENAL
CODE ANN. § 22.021(a)(1)(B), (e) (West 2019). Prior to the charge conference and
during the punishment phase, the trial court granted the State’s motion to cumulate
and ordered the sentences for Counts One and Two to run concurrently and the
sentence for Count Three to run consecutively to Count One. The jury subsequently
assessed Appellant’s punishment at life imprisonment in the Institutional Division
of the Texas Department of Criminal Justice, for each count. The trial court
sentenced Appellant in accordance with the jury’s verdict. Appellant challenges his
conviction in two issues. First, he contends that the evidence is insufficient to
support his convictions. Second, he submits that the trial court committed reversible
error by admitting several exhibits—messages and posts from a website that he
alleges are unauthenticated—over his objection. We modify and affirm.
                          Factual and Procedural History
      Appellant was indicted for three counts of aggravated sexual assault of his
daughter, A.H. The following witnesses testified during the trial.
      Donna Cave
      Donna Cave testified that she is A.H.’s great grandmother and that A.H.’s
mother, B.H., is Cave’s granddaughter. In July 2021, Cave resided with B.H.,
Appellant, and their three young children, including A.H. During that time, Cave
provided daily care for the children. One evening in July 2021, when Cave was
giving five-year-old A.H. a bath, she noticed that A.H.’s “hiney . . . was red, real
red.” Cave inquired about the redness, to which A.H. said, “My daddy put his
privates in my butt.” Cave explained that A.H. appeared “sad” and did not seem to
want to discuss it any further.
      Cave’s testimony regarding the timing of events, including when she
revealed A.H.’s condition and statements to others, is imprecise and confusing. On
cross-examination, she explained, “I told you I don’t remember dates real good. I’m
66 years old. My mother and dad both had Alzheimer’s and dementia. It’s in the
family and I’m sorry.” Cave testified that she told her daughter what happened and
that it was reported to Child Protective Services (CPS).




                                         2
      Araceli Arellano
      Araceli Arellano is a forensic interviewer who interviewed A.H. after her
initial outcry. According to Arellano, A.H. disclosed that “her daddy . . . puts his
private parts in [A.H.’s] face, her butt, and her mouth.” A.H. also complained that
Appellant “puts his private in [her] private.” A.H. clarified to Arellano that private
parts “are to pee.” A.H. described feeling pain when Appellant “put his private parts
in her butt.” A.H. stated to Arellano that Appellant puts his “private parts” in her
mouth and “pees” in it. A.H. indicated that she had seen pornography on Appellant’s
phone. Arellano testified that A.H. told her that Appellant’s “sexual abuse happened
a lot” and that Cave gave her and her siblings candy after A.H. made her initial
outcry. Arellano described A.H. as “speaking like a normal five-year-old.”
      Arellano also interviewed A.H.’s siblings, who said that “[A.H] was lying on
Daddy.” The siblings explained that “[A.H.] lies all the time.” However, Arellano
described the language used by the siblings as “unusual” and elaborated that the
children stated they had heard their mother and Appellant discussing these things or
that the parents had told them directly.
      Martha Banda
      Martha Banda is a registered nurse and Sexual Assault Nurse Examiner
(SANE) who worked at Medical Center Hospital in Odessa. Banda performed a
forensic sexual assault exam on A.H. Although Banda did not note any trauma to
A.H.’s face or mouth, she did not find that unusual. Similarly, Banda did not observe
any trauma to A.H.’s vagina. However, Banda did note trauma to A.H.’s rectum,
explaining that it was dilated with a “red purple area on the lower part.” Banda
explained that a rectum may be dilated due to medical conditions or needing to use
the bathroom; however, she did not note any stool present for A.H. and ruled those
out as potential causes. According to Banda, this correlated more with trauma than


                                           3
any medical condition or needing to use the bathroom. Overall, Banda testified that
the exam was consistent with trauma through anal penetration.
      Jodi Alvarado
      Jodi Alvarado testified that she was the Ector County Sheriff’s Office (ESCO)
investigator assigned to investigate the allegations against Appellant. Investigator
Alvarado executed a search warrant for Appellant’s property and recovered a
“Samsung Galaxy S8 Active” cell phone from his residence that she understood to
belong to Appellant. The cell phone was given to Homeland Security Investigations
for a forensic analysis and admitted as an exhibit.
      B.H.
      B.H., A.H.’s mother, testified that she, Appellant, and their children resided in
Odessa when the allegations were made. B.H. explained that Cave, her grandmother,
lived with them “off and on,” but lived with them more than away from them.
According to B.H., Cave was “like [a] mother” to the children. But B.H. described
Cave and Appellant as having “a love/hate relationship” and stated that they
“butt[ed] heads a lot.”
      Following A.H.’s outcry, Appellant was required by the CPS safety plan to
move out of the house and was not allowed to return. B.H. agreed that she and
Appellant discussed Cave moving out in May, before the allegations regarding
A.H.’s sexual assault were communicated to B.H. However, as part of the CPS
safety plan, Cave was asked to move back in to help with the children. Before the
living arrangements changed, B.H. tried to get A.H. alone to talk to her, but
Appellant “seemed pretty anxious” about it, “like he did not want [B.H.] to be alone
with [A.H.].”
      While in the Ector County jail awaiting trial, Appellant sent B.H. an e-mail
asking her to change his password, “stretchxwood2020.” A copy of the e-mail was
admitted as an exhibit. B.H. explained that Appellant used the term “stretchxwood”
                                          4
on websites and around town, stemming from his nickname, “‘Stretch[,]’ because he
was so tall.”
      B.H. described an incident where she and her cousin made a quick trip to the
store and, upon returning, caught Appellant watching pornography and masturbating
in the same room with the children. But B.H. agreed that Appellant “had almost no
time alone with all three of th[e] kids” because “he was in jail for DWI” or “other
minor offenses,” he was recovering from ankle surgery, or he was otherwise not
there. B.H. confirmed that A.H. said that Cave gave her candy “for [saying] bad
stuff about” Appellant. Moreover, Appellant’s parents were watching A.H. at one
point, and they brought A.H. to B.H. and told A.H. to “tell [B.H.] what you just told
us.” A.H. then told B.H. that she lied about the accusations because Cave told her
to say it and she would get candy.
      B.H. acknowledged that Adult Protective Services (APS) responded to
allegations that Appellant was physically abusing Cave and that she told APS that
Cave was lying. B.H. confirmed that A.H. did not have any chronic issue of bowel
disorders or constipation around the time of her SANE exam, thus corroborating
Banda’s exclusion of these as potential causes of the reddened condition of A.H.’s
rectum.
      Jason Grijalva
      Special Agent Jason Grijalva is employed by Homeland Security
Investigations.   In September 2021, Special Agent Grijalva was assisting the
Washington D.C. field office in investigating the website “Rapey.su.” After Special
Agent Grijalva’s assignment was completed, he searched through the website’s data,
which was seized by the federal government, for towns in his area of responsibility.
Special Agent Grijalva discovered user information on the website under the e-mail
“dakotahoyt04@gmail.com” with the username “stretchxwood,” which was created
on October 1, 2020. Moreover, the user listed Odessa, Texas as their location and
                                         5
their date of birth as December 17, 1991. Under a prompt that said: “Tell us about
yourself,” the user stated “28 year old father of 3. 2 girls one boy.” Another prompt
asked, “If a man wants to rape his 3-year-old daughter up every hole while she’s
crying and screaming, do you have a problem with that,” to which the user
responded, “No problem at all.” This information was admitted as State’s Exhibit
No. 9.
         Special Agent Grijalva used the e-mail to search for the user and discovered
Appellant’s information and photographs, which matched those on the rapey.su
account. A screenshot image of the account’s “About” tab was also admitted
as State’s Exhibit No. 10, which repeated the information found in State’s Exhibit
No. 9. B.H. later confirmed that the user information from “stretchxwood” on
rapey.su matched that of Appellant’s, including age, race, height, hair color, and eye
color.
         State’s Exhibit No. 11 included an October 1, 2020 post by “stretchxwood”
asking “Any pedom9ms [sic] with cute young girls?” State’s Exhibit No. 12
included a post from another user that stated, “[W]hen [I] was from about 4 to 5 and
maybe even 6 years old[,] my father would have me do things in the bathtub and do
things to me. [H]e’d have me touch his [penis] and things like that. [H]e’d also touch
me. [I] would ask him to.” “Stretchxwood” responded, “I do this to my 4 year old.
She[’]s always trying to pull my [penis] out [of] my pants now and suck it or put it
on her young [vagina.]” State’s Exhibit Nos. 13 and 14 contained several responses
from “stretchxwood” to various posts by other users, including one post by a user
seeking older men looking for “jailbait.”
         Noel Vidal
         Special Agent Noel Vidal with the Department of Homeland Security testified
that he is assigned to the Midland, Texas office. Special Agent Vidal was contacted
by Investigator Alvarado to perform a “forensic dump” on a cell phone. A portion
                                            6
of the recovered data was admitted as exhibits, including some photos, subscriber
information for dakotahoyt04@gmail.com, and search history. On July 22, 2021,
one day after the allegations against Appellant surfaced, the user performed a Google
search for “can cops still find deleted stuff on phones” and “how far back can cops
recover deleted stuff on phones.” The user also visited webpages titled “Convictions
Through Hearsay in Child Sexual Abuse Cases” and “So You’re Faced with Child
Hearsay: What’s In, What’s Not.” On April 17, 2021, the device’s user searched
“dad and friends took turns with me story.”
      Carol Hoyt
      Carol Hoyt testified that she is Appellant’s mother. Carol explained that her
grandchildren “were at [her] house all the time, like every single weekend.” When
Carol heard about the allegations against Appellant, she asked A.H. if Appellant did
anything to her. According to Carol, A.H. said that “[Cave] told [her] to say that.”
Carol testified that A.H. never appeared to be afraid of Appellant or demonstrated
changes in behavior or demeanor. Carol also agreed that Appellant was out of the
home for a couple of months in the beginning of 2021 because “[he] had some
problems with the law.”
      William Hoyt
      William Hoyt testified that he is Appellant’s father. William described having
“quite a bit of problems” with Cave. After learning about the allegations against
Appellant, William also took A.H. aside and asked if Appellant did “bad things” to
her. According to William, A.H. denied that Appellant did anything to her. When
William asked A.H. why she made the allegations, she responded, “Because [Cave]
gives me candy to say those.” William described A.H. as “always a healthy, happy
child,” and denied that she ever changed how she acted with Appellant. William
confirmed that Appellant’s nickname is “Stretch.”


                                         7
      William explained that “several people” had access to Appellant’s phone,
including B.H.’s mother, who used it to send William text messages requesting
money and cigarettes, though he could not recall the timeframe. However, William
did not believe that B.H.’s mother lived with B.H. and Appellant during 2020.
                              Sufficiency of the Evidence
      In his first issue, Appellant argues that the evidence was legally insufficient
to support his convictions.
      A. Standard of Review
      We review a challenge to the sufficiency of the evidence under the standard
of review set forth in Jackson v. Virginia, 443 U.S. 307 (1979). Brooks v. State, 323
S.W.3d 893, 912 (Tex. Crim. App. 2010); Polk v. State, 337 S.W.3d 286, 288–89
(Tex. App.—Eastland 2010, pet. ref’d). Under the Jackson standard, we review all
the evidence in the light most favorable to the verdict and determine whether any
rational trier of fact could have found the essential elements of the charged offense
beyond a reasonable doubt. Jackson, 443 U.S. at 319; Zuniga v. State, 551 S.W.3d
729, 732 (Tex. Crim. App. 2018); Brooks, 323 S.W.3d at 895; Isassi v. State, 330
S.W.3d 633, 638 (Tex. Crim. App. 2010).
      Viewing the evidence in the light most favorable to the verdict requires that
we consider all the evidence admitted at trial, including improperly admitted
evidence. Winfrey v. State, 393 S.W.3d 763, 767 (Tex. Crim. App. 2013); Clayton v.
State, 235 S.W.3d 772, 778 (Tex. Crim. App. 2007). As such, we must defer to the
factfinder’s credibility and weight determinations because the factfinder is the sole
judge of the witnesses’ credibility and the weight their testimony is to be afforded.
Winfrey, 393 S.W.3d at 768; Brooks, 323 S.W.3d at 899. The Jackson standard is
deferential and accounts for the factfinder’s duty to resolve conflicts in the
testimony, to weigh the evidence, and to draw reasonable inferences from the facts.
Jackson, 443 U.S. at 319; Zuniga, 551 S.W.3d at 732; Clayton, 235 S.W.3d at 778.
                                          8
We may not reevaluate the weight and credibility of the evidence to substitute our
judgment for that of the factfinder. Dewberry v. State, 4 S.W.3d 735, 740 (Tex.
Crim. App. 1999). Instead, we determine whether the necessary inferences are based
on the combined and cumulative force of all the evidence when viewed in the light
most favorable to the verdict. Clement v. State, 248 S.W.3d 791, 796 (Tex. App.—
Fort Worth 2008, no pet.). Therefore, if the record supports conflicting inferences,
we presume that the factfinder resolved the conflicts in favor of the verdict, and we
defer to that determination. Jackson, 443 U.S. at 326; Merritt v. State, 368 S.W.3d
516, 525–26 (Tex. Crim. App. 2012); Clayton, 235 S.W.3d at 778.
      The evidence need not directly prove the defendant’s guilt; circumstantial
evidence is as probative as direct evidence in establishing the defendant’s guilt, and
circumstantial evidence alone can be sufficient to establish guilt. Carrizales v. State,
414 S.W.3d 737, 742 (Tex. Crim. App. 2013) (citing Hooper v. State, 214 S.W.3d
9, 13 (Tex. Crim. App. 2007)). Each fact need not point directly and independently
to the defendant’s guilt if the cumulative force of all incriminating circumstances is
sufficient to support the defendant’s conviction.       Hooper, 214 S.W.3d at 13.
Therefore, in evaluating the sufficiency of the evidence, we treat direct and
circumstantial evidence equally, and we must consider the cumulative force of all
the evidence. Villa v. State, 514 S.W.3d 227, 232 (Tex. Crim. App. 2017); Murray v.
State, 457 S.W.3d 446, 448 (Tex. Crim. App. 2015); Isassi, 330 S.W.3d at 638;
Hooper, 214 S.W.3d at 13.
      Appellant attacks the sufficiency of the evidence on three separate bases:
(1) the lack of evidence regarding when and where the alleged sexual assaults
occurred, which he asserts “are important elements of the offense”; (2) the lack of
testimony from A.H. and the inclusion of testimony that Cave had a motive to
fabricate the allegations; and (3) the lack of “significant physical, forensic, or
medical evidence that substantiated the allegations.”
                                           9
      B. Applicable Law
      As relevant here, a person commits the offense of aggravated sexual assault
of a child under Section 22.021(a)(1)(B) if he intentionally or knowingly:
      (iii) causes the sexual organ of a child to contact his sexual organ;

      (iv) causes the anus of a child to contact his sexual organ; or

      (v) causes the mouth of a child to contact his sexual organ.
PENAL § 22.021(a)(1)(B)(iii–v). Where, as here, the child victim is under the age of
six at the time the offense is committed, the minimum term of imprisonment is
twenty-five years. See id. § 22.021(f)(1).
      The uncorroborated testimony of a child victim is alone sufficient to support
a conviction for an offense under Section 22.021. TEX. CODE CRIM. PROC. ANN.
art. 38.07(a), (b)(1) (West 2023); Wishert v. State, 654 S.W.3d 317, 328 (Tex.
App.—Eastland 2022, pet. ref’d); Chapman v. State, 349 S.W.3d 241, 245 (Tex.
App.—Eastland 2011, pet. ref’d). Similarly, a child victim’s outcry alone can be
sufficient to support a sexual-assault conviction. Chavez v. State, 324 S.W.3d 785,
788 (Tex. App.—Eastland 2010, no pet.); see also Jones v. State, 428 S.W.3d 163,
169 (Tex. App.—Houston [1st Dist.] 2014, no pet.).
      “[V]enue is not an ‘element of the offense’ under Texas law.” Schmutz v.
State, 440 S.W.3d 29, 34 (Tex. Crim. App. 2014). “[T]he Texas Rules of Appellate
Procedure permit appellate courts to presume that venue was proven unless venue is
‘disputed in the trial court’ or ‘the record affirmatively shows the contrary.’” Id. at
35 (citing TEX. R. APP. P. 44.2(c)(1)). Accordingly, venue does not implicate the
sufficiency of the evidence. Id. Similarly, it is not necessary to prove the exact
offense dates alleged in the indictment, so long as the State shows that the alleged
offense occurred before the indictment was returned and within the applicable statute
of limitations. Klein v. State, 273 S.W.3d 297, 303 n.5 (Tex. Crim. App. 2008).

                                          10
      C. Analysis
      Contrary to Appellant’s bare insufficient evidence assertions, the date(s) and
location of the offenses are not essential elements of the offenses of which he was
charged. See Schmutz, 440 S.W.3d at 34; Klein, 273 S.W.3d at 303 n.5. Because
Appellant did not challenge venue in the trial court and the record does not
affirmatively disprove the proper venue, we presume venue was proven. See Tex. R.
App. P. 44.2(c)(1); Schmutz, 440 S.W.3d at 35. As for the dates of the offenses,
Appellant does not contend that they occurred after the indictment or outside the
statute of limitations. See Klein, 273 S.W.3d at 303 n.5; see also CRIM. PROC.
art. 12.01(1)(B) (West Supp. 2023) (establishing that there is no statute of limitations
for the offenses with which Appellant was charged).
      A.H.’s outcry as presented through Cave and Arellano alone are sufficient to
affirm Appellant’s convictions. See Chavez, 324 S.W.3d at 788. Moreover, a
victim’s testimony need not be corroborated by medical or physical evidence to be
sufficient to support a conviction. Cantu v. State, 366 S.W.3d 771, 775–76 (Tex.
App.—Amarillo 2012, no pet); Lee v. State, 176 S.W.3d 452, 458 (Tex. App.—
Houston [1st Dist.] 2004), aff’d, 206 S.W.3d 620 (Tex. Crim. App. 2006). Thus,
Appellant’s complaints that A.H. did not testify and that there is not “significant”
corroborating physical, forensic, or medical evidence are unavailing. See Chavez,
324 S.W.3d at 788. It was not necessary for A.H. to testify or for the State to produce
corroborating evidence. See id.      As for Cave’s potential motivation to “coach” A.H., the jury was presented
with conflicting testimony regarding any attempts to do so. Thus, it was the jury’s
role to evaluate the weight and credibility of the evidence and resolve any conflicts,
which they presumably did in favor of the verdict. See Jackson, 443 U.S. at 319;
Winfrey, 393 S.W.3d at 768; Brooks, 323 S.W.3d at 899. Moreover, in addition to
A.H.’s outcry that Appellant put his “private” in her face, mouth, “butt,” and
                                          11
“private,” the post on rapey.su by “stretchxwood” that he abused his daughter
supports the allegations against Appellant.1 See Winfrey, 393 S.W.3d at 767.
Finally, although it is not required, forensic evidence was presented to support the
conviction: Banda testified that A.H.’s SANE exam revealed trauma to A.H.’s
rectum that was consistent with sexual assault and no other explanation was found.
       After reviewing the entire record, we conclude there was sufficient evidence
for a rational jury to logically infer and conclude beyond a reasonable doubt that
Appellant committed the offenses as charged.                   See PENAL § 22.021(a)(1)(B);
Jackson, 443 U.S. at 319
       Appellant’s first issue is overruled.
                           Authentication for Social Media Posts
       In his second issue, Appellant complains that the trial court erred by admitting
State’s Exhibit Nos. 11, 12, 13, and 14 because they were not properly authenticated.
       A. Relevant Facts
       State’s Exhibit Nos. 9 and 10, which included user information for
“stretchxwood” on rapey.su, also included personal information that matched
Appellant’s and were admitted without objection.
       Prior to the trial court ruling on the admissibility of State’s Exhibit No. 11,
Appellant took Special Agent Grijalva on voir dire. Special Agent Grijalva agreed
that one would need an electronic device with internet access to use the website.
Special Agent Grijalva further agreed that a person with a particular username and
password could log onto that account, not just the user to whom the account belongs.
Appellant then objected, arguing “we can’t tell who is actually putting this
information into the Web site based on that testimony.” The State responded, arguing
that the information includes pertinent descriptors, namely, Appellant’s name, date

       1
        Appellant conceded in closing argument that he had been posting on the website, but maintained
he was not on trial for said conduct.
                                                 12
of birth, and e-mail address, as well as pictures of him from the account. The trial
court overruled Appellant’s objection and Appellant then requested a “running
objection to anything posted from [the] Web site.” The trial court admitted State’s
Exhibit No. 11, which includes a post by “stretchxwood” seeking “pedom9ms [sic]
with cute young girls.”
      The State then sought to introduce State’s Exhibit No. 12, to which Appellant
responded, “Outside of what we discussed, no objection.” As we have said, Exhibit
No. 12 included a post from an unknown user that stated, “[W]hen [I] was from
about 4 to 5 and maybe even 6 years old[,] my father would have me do things in
the bathtub and do things to me. [H]e’d have me touch his [penis] and things like
that. [H]e’d also touch me. [I] would ask him to.” The user “stretchxwood”
responded, “I do this to my 4 year old. She[’]s always trying to pull my [penis] out
[of] my pants now and suck it or put it on her young [vagina.]” The State then
offered State’s Exhibit Nos. 13 and 14, which included several responses from
“stretchxwood” to various posts by other users. Appellant responded, “Same
response from defense, Your Honor.” Exhibit Nos. 12, 13, and 14 were all admitted.
      B. Standard of Review and Applicable Law
      “To satisfy the requirement of authenticating or identifying an item of
evidence, the proponent must produce evidence sufficient to support a finding that
the item is what the proponent claims it is.” TEX. R. EVID. 901. “A proponent of
evidence is not required to ‘rule out all possibilities inconsistent with authenticity,
or to prove beyond any doubt that the evidence is what it purports to be.’” Cook v.
State, 460 S.W.3d 703, 712 (Tex. App.—Eastland 2015, no pet.) (quoting
Campbell v. State, 382 S.W.3d 545, 549 (Tex. App.—Austin 2012, no pet.)).
“Rule 901 ‘does not [create] a particularly high hurdle, and that hurdle may be
cleared by circumstantial evidence.’” Id. at 713 (quoting Campbell, 382 S.W.3d at


                                          13
549). Once admitted, it is up to the factfinder to determine whether the item is what
the proponent claims it to be. See id. at 712.
      The Court of Criminal Appeals examined the authentication of social media
posts, holding that evidence can authenticate such posts with references to specific
details that only the purported author would know—messages referring to the
alleged incident, unique photos of the purported author, and other details specific to
the defendant. Tienda v. State, 358 S.W.3d 633, 642–45 (Tex. Crim. App. 2012).
Since Tienda, we and several of our sister courts have found no abuse of discretion
for a trial court’s decision to admit exhibits of social media accounts based on
similar grounds. See, e.g., Woods v. State, No. 11-15-00134-CR, 2017 WL 3711104,
at *5–6 (Tex. App.—Eastland Aug. 25, 2017, no pet.) (mem. op., not designated for
publication) (appellant’s Facebook posts); Coe v. State, No. 09-13-00409-CR, 2015
WL 3898001, at *10 (Tex. App.—Beaumont June 24, 2015, pet. ref’d) (mem. op.,
not designated for publication) (appellant’s Facebook messages); Miller v. State,
No. 11-11-00350-CR, 2013 WL 5636375, at *2–3 (Tex. App.—Eastland Oct. 10,
2013, pet. ref’d) (mem. op., not designated for publication) (appellant’s MySpace
profile); Campbell v. State, 382 S.W.3d 545, 548 (Tex. App.—Austin 2012, no pet.)
(Facebook messages sent by appellant); Rene v. State, 376 S.W.3d 302, 304 (Tex.
App.—Houston [14th Dist.] 2012, pet. ref’d) (photographs of appellant on his
MySpace profile).
      “[W]hether or not to admit evidence at trial is a preliminary question to
be decided by the [trial] court.” Tienda, 358 S.W.3d at 637–38 (citing TEX. R.
EVID. 104(a)). As such, “review of a trial court’s ruling on such a preliminary
question of admissibility is deferential; the standard is abuse of discretion.” Id. at
638. “If the trial court’s ruling that a jury could reasonably find proffered evidence
authentic is at least ‘within the zone of reasonable disagreement,’ a reviewing court
should not interfere.” Id.
                                          14
      C. Analysis
      Appellant argues that here, there was no authenticating evidence that
“link[ed]” Appellant to the posts as there was in Tienda. Further, Appellant contends
that “[t]he State could not disprove that other people in his household, especially
ones with motive to remove [Appellant] from their lives, could have authored those
posts.”   Therefore, he contends, the contested exhibits were not properly
authenticated. We disagree.
      We note that Appellant did not object to the admission of State’s Exhibit
Nos. 9 and 10, which included the information for the “stretchxwood” profile, such
as Appellant’s e-mail address, date of birth, height, eye and hair color, and location.
Moreover, the account was named after Appellant’s known nickname, “Stretch,” and
was similar to the password to his e-mail account, “stretchxwood2020.” Moreover,
photographs of Appellant were posted on the account. This is some evidence linking
Appellant to the posts.
      As for State’s Exhibit Nos. 11, 12, 13, and 14, we note that State’s Exhibit
No. 11 was posted on October 1, 2020, the same day that the account with
Appellant’s information was created.           See Tienda, 358 S.W.3d at 642–43
(considering that the social media account contained the appellant’s name,
nickname, city, and photographs when concluding the exhibits were sufficiently
authenticated). State’s Exhibit No. 12 includes a post from a purported young girl
disclosing that, when she was four to six years old, her father made her touch his
penis and he would also touch her. In response, “stretchxwood” stated, “I do this to
my 4 year old.” See id. at 641 (noting that posts including information peculiar to
the facts of the particular case can establish a prima facie showing of authentication).
A.H. would have been four years old at the time of the posting, which was more than
260 days before the allegations were brought to light. See id. In State’s Exhibit


                                          15
Nos. 13 and 14, user “stretchxwood” indicated that they were 28 years old and in
West Texas. See id.
      “It is, of course, within the realm of possibility that [Appellant] was the victim
of some elaborate and ongoing conspiracy” initiated by somebody with access to his
cell phone or rapey.su login information, which was “an alternate scenario whose
likelihood and weight the jury was entitled to assess once the State had produced a
prima facie showing” that it was Appellant, not some other person, who created these
incriminating posts. See id. at 645–46. Nevertheless, we conclude that Appellant’s
personal information, which matches that of the profile and personal information
included in the posts, was sufficient to authenticate “stretchxwood’s” rapey.su
profile and posts and clear the relatively low hurdle of the trial court’s gatekeeping
role. See TEX. R. EVID. 104(a), 901; Tienda, 358 S.W.3d at 645; Cook, 460 S.W.3d
at 713. Thus, the trial court did not abuse its discretion by admitting State’s Exhibit
Nos. 11, 12, 13, and 14.
      Appellant also broadly argues that “the evidence was prejudicial and had no
probative value other than to inflame the minds of the jurors. The State used this
evidence as character evidence to prove [Appellant]’s character.” To the extent
Appellant intends to argue that Rule 403 of the Texas Rules of Evidence required
the exhibits to be excluded, Appellant failed to cite any authority to support this
assertion, thereby waiving the argument due to inadequate briefing. See TEX. R.
APP. P. 38.1(i) (requiring an argument include “appropriate citations to authorities
and to the record”). Moreover, Appellant only objected to the posts’ authentication
before the trial court, thereby failing to preserve this Rule 403 argument for appellate
review. See id. R. 33.1 (requiring Appellant to make a timely objection to the trial
court in order to present a complaint for appellate review). Appellant’s second issue
is overruled.


                                          16
                        The Trial Court’s Cumulation Order
      Although not raised on appeal by either party, we note that the trial court’s
judgment for Count Three includes an order that the sentence for that count shall run
consecutively to the sentence imposed in Count One; however, the trial court did not
state that such sentence would run consecutively at the time it orally pronounced
Appellant’s sentence in open court. Prior to the charge conference in the punishment
phase of trial, the State presented a motion to cumulate Appellant’s sentences. The
trial court granted the motion, albeit prematurely, at that time. Following closing
arguments and the jury’s punishment verdicts, the trial court pronounced Appellant’s
three life sentences in open court but did not include its cumulation order during its
pronouncement. Instead, the trial court stated that Appellant’s “sentence will start
this day” and remanded him to the custody of the Ector County Sheriff.
      “[A] trial judge may not cumulate sentences in the written judgment if he did
not do so in his oral pronouncement.” Sullivan v. State, 387 S.W.3d 649, 652 (Tex.
Crim. App. 2013); Ex parte Madding, 70 S.W.3d 131, 136 (Tex. Crim. App. 2002)
(The trial court must make a cumulation order “at the time and place that [the]
sentence is orally pronounced” if it wishes to “stack” a defendant’s sentence.);
Grays v. State, 291 S.W.3d 555, 558 (Tex. App.—Houston [14th Dist.] 2009, no
pet.) (the trial court did not order cumulation in open court while pronouncing the
defendant’s sentences). Because an unlawful cumulation order does not constitute
reversible error, the appropriate remedy is to reform the trial court’s judgment and
delete the cumulation order. Sullivan, 387 S.W.3d at 653; Beedy v. State, 250
S.W.3d 107, 114–15 (Tex. Crim. App. 2008); see Madding, 70 S.W.2d at 137. We
therefore modify the judgments in Counts One and Three to delete the trial court’s
cumulation orders.




                                         17
                                   This Court’s Ruling
      We affirm the trial court’s judgment for Count Two. We modify the trial
court’s judgments for Counts One and Three to delete the cumulation orders and
show that the sentences imposed against Appellant in those counts shall be served
concurrently. As modified, we affirm the judgments of the trial court for Counts
One and Three.




                                                W. BRUCE WILLIAMS
                                                JUSTICE


August 21, 2024
Do not publish. See TEX. R. APP. P. 47.2(b).
Panel consists of: Bailey, C.J.,
Trotter, J., and Williams, J.




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